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                 UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF ILLINOIS
_____________________________________________________________

UNITED STATES OF AMERICA

      v.
                                              1:10-CR-00773
                                              Hon. Robert W. Gettleman
SAMI SAMIR HASSOUN,
                                              REPLY MEMORANDUM
          Defendant.
_____________________________________________________________

      The government concedes that Mr. Hassoun has timely exhausted the

necessary administrative remedies and that his medical condition in light of the

current COVID-19 pandemic does in fact constitute an extraordinary and

compelling reason for his release. Nonetheless, the government maintains that Mr.

Hassoun’s release is not consistent with the USSC 3553(a) factors, specifically:

that his underlying offense was very serious and indicates that he remains a threat

to public safety; that he has not served a sufficient amount of time in prison; and

that the risk of contracting COVID during the deportation process, combined with

the efforts of the BOP to contain the pandemic, undermine the relief sought.

   For the reasons described below, this Court should find the government’s

response unavailing and order Mr. Hassoun’s release as requested in defendant’s

original motion for compassionate release. Mr. Hassoun relies on the facts and

arguments presented in defendant’s main brief, which will not be repeated here.

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1) The nature and circumstances surrounding Mr. Hassoun’s offense do not
   warrant rejecting Mr. Hassoun’s petition for compassionate release.

   a) The government’s claims about the threat Mr. Hassoun poses is
      inaccurate because it is based solely on his underlying offense and
      ignores other pertinent information, including his low risk of
      recidivism, his rehabilitative efforts, and his deportation.
      The government alleges that Mr. Hassoun “continues to be a danger to the

community as reflected by his significantly serious offense conduct”. Gov’t’s

Resp. B. at 10 (herein “GRB”). The seriousness of the offense as the government

describes it is the only basis for the government’s argument that Mr. Hassoun

continues to pose a threat. But the court is asked to evaluate, among other

categories, the threat Mr. Hassoun would pose if released. This is a necessarily

forward-looking analysis rather than a purely backward-looking analysis that only

takes the underlying offense into account.

      In fact, Mr. Hassoun’s BOP SENTRY file indicates that he poses a low risk

of recidivism. The BOP’s own conclusions about Mr. Hassoun’s unlikeliness to

reoffend is only bolstered by the extensive rehabilitative work that Mr. Hassoun

has undertaken and the fact that any hypothetical risk would be addressed by Mr.

Hassoun’s deportation.

   b) The government’s description of Mr. Hassoun’s crime overstates Mr.
      Hassoun’s role in the plot.

      While the seriousness of the underlying offense comprises the government’s

only argument about the danger Mr. Hassoun might pose, the government’s

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description of the offense itself is exaggerated. Regarding the seriousness of the

offense, the court should consider the “circumstances of the…offense, including

the extent of [the defendant’s] participation in the conduct and the way…peer

pressures may have affected him.” Miller v. Alabama, 132 S. Ct. 2455, 2468

(2012). As defense counsel noted at sentencing and as noted in Defendant’s motion

at 14, a number of cases have called into question the appropriateness of federal

agents’ actions ultimately determining the severity of the offense.

      The government argues that Mr. Hassoun “attempted to carry out an act of

terrorism that was designed by him to maximize both actual and psychological

damage.” GRB at 15. In fact, the record makes clear that the plot and its deadliness

were designed by the informants: when Mr. Hassoun suggested using “smoke

bombs,” it was informants who suggested otherwise. Def.’s Sent. Mem. 4, Mar. 18,

2013. ECF No. 84 at 20. It took more than a year for informants to coax Mr.

Hassoun, who had never committed any crime, to agree to go along with the plot.

Id at 18. The government emphasizes Mr. Hassoun’s extensive comments about

the plot, but ignores that these conversations were, at all times, with informants

who initiated the plot and were necessary to push the plot forward. Id. at 19-21.

Indeed, it was the informants that repeatedly coaxed Mr. Hassoun into coming up

with detailed plans to carry out a bombing when he had not done so. Id. That Mr.

Hassoun complied with instructions from his handlers to look for locations that


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would cause great damage and that he did not extricate himself from the plot when

given the opportunity cannot be denied, and indeed, Mr. Hassoun has spent nearly

a decade addressing those choices in in his rehabilitative work. But Mr. Hassoun’s

bad decisions cannot render a plot that was engineered by others reflect entirely on

his own criminal propensity.

2) The unique circumstances of the pandemic and its potential to kill Mr.
   Hassoun weigh in favor of finding that he has served sufficient time in
   prison.

      The government argues that Mr. Hassoun has not completed a sufficient

amount of his sentence relying entirely on the calculation at the time of sentencing.

Plainly, this argument provides no evaluation of how the threat to Mr. Hassoun’s

life posed by the pandemic should call for a reassessment of the appropriateness of

the time served insofar as it is an extraordinary and compelling reason that was not

anticipated by the Court at the time of sentencing. Furthermore, the government’s

argument fails to address the fact that two of the years Mr. Hassoun has served

were served in unmedicated pain. Where the pandemic could kill Mr. Hassoun,

such a reassessment is called for.

3) Mr. Hassoun’s deportation does not place him at greater risk of infection
   than remaining in prison.
      The government’s final line of reasoning is that the BOP’s action plan,

combined with the lack of confirmed cases at USP Leavenworth, mitigate the risk



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of infection while a risk of infection might be greater during his deportation

process. The Court should find this reasoning unavailing.

      First, the BOP’s action plan cannot change the fact that prisons remain

incredibly dangerous places for the spread of COVID-19, and that many aspects of

those threats cannot be properly mitigated due to the impossibility of social

distancing. Notably, despite the efforts of the BOP, individuals in U.S. prisons

continue to die at significant rates, and currently available data on both infections

and deaths at federal prisons indicate that the rate is not decreasing. See The

Marshall Project, A State-by-State Look at Coronavirus in Prisons, “Federal,” last

updated June 12, 2020, https://www.themarshallproject.org/2020/05/01/a-state-by-

state-look-at-coronavirus-in-prisons. The chart below documents the rate of

infections per 1,000 people using the latest data that is available at the time of

writing. Id., and Worldometers, Coronavirus Updates, last updated June 18, 2020,

https://www.worldometers.info/coronavirus/#countries.




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      Second, that there have been no cases detected at Leavenworth specifically

is belied by the fact that there is still no indication that BOP is testing everyone

within Leavenworth nor that it may be well too late to protect vulnerable prisoners

like Mr. Hassoun after an outbreak is detected. Indeed, well after the extensive

mitigation efforts described by the government, individuals in federal prisoners

have continued to contract the virus and some have died as a result. Id.

      In contrast to their argument downplaying the risks of infection in a BOP

facility, the government argues that Mr. Hassoun may contract the virus anyway

during the deportation process. Citing United States v. Maka, No. 03 CR 84, 2020

WL 2544408 (D. Haw. May 19, 2020), the government argues that Mr. Hassoun

cannot show that his release would necessarily reduce his risk of infection due to

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the risk of infection during deportation, including time held in an ICE facility and

on board any connecting flights.

      But Maka is readily distinguishable. In Maka, the defendant sought to

challenge his deportation to his native Tonga, where it was likely that defendant’s

underlying medical conditions would be worse given the lack of treatment options

available to him in that country. The defendant could not establish that he would

released from immigration custody on bond or establish how long it would take for

his immigration case to be resolved, as the defendant in that case sought to

challenge his deportation. Though the court mentioned the risk of contracting

COVID-19 on several connecting flights to Tonga, a reasonable reading of this

statement from the court would view this as part of the aggregate of potential risks

of infection that the defendant might have faced while in process of fighting his

deportation. In contrast, Mr. Hassoun does not argue that his medical treatment

options would be unavailable in Lebanon, does not believe he has any recourse

from deportation, and would likely only be held in immigration custody for a brief

transitory period before returning to his extended family in Lebanon. Indeed,

available data suggests that the risks of infection in Lebanon are considerably

lower than in the United States, whether inside a prison or outside, at .2 infections

per 1,000 people. See, Worldometers, Id. A brief period in custody and on several




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plane flights transparently poses a far lower risk of infection than remaining in a

crowded federal prison. As such, the Court should reject this argument.

Conclusion

      For the forgoing reasons, the Court should grant Mr. Hassoun’s motion for

compassionate release and modify his sentence to time served.

      Dated: June 17, 2020

                                              Respectfully submitted,

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